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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

JOHN DOE 10                                 )
                                            )         Cause Number:
               Plaintiff,                   )
                                            )
vs.                                         )
                                            )         JURY TRIAL DEMANDED
BOARD OF EDUCAION OF TRIAD                  )
COMMUNITY UNIT SCHOOL                       )
DISTRICT NO. 2, ERIN GARWOOD,               )
and RODNEY WINSLOW                          )
                                            )
               Defendants.                  )

            PLAINTIFF’S MOTION AND MEMORANDUM IN SUPPORT OF
                 PURSUING THIS ACTION UNDER PSEUDONYM

       Comes now, John Doe 10, by and through his attorneys, Kennedy Hunt PC and Gorovsky

Law, and request permission from the Court to file this matter using pseudonym. Plaintiff submits

this motion and memorandum to address the circumstances that necessitate allowing him to litigate

this matter under a pseudonym.

        Plaintiff is filing his complaint in this case under the pseudonym John Doe 10. John Doe

10 is a young adult who was repeatedly sexually harassed by his teacher, Defendant Erin Garwood,

and peers at Triad Community Unit School District No. 2, while he was a minor. Plaintiff seeks to

remain anonymous to the public because Plaintiff is a young adult and because of the nature and

circumstances regarding his abuse as a minor. If Plaintiff is required to use his name in the

prosecution of this lawsuit, he and his family will be subject to embarrassment, oppression, and

re-victimization.

       Accordingly, he requests that this Court find good cause to allow him to proceed

anonymously and to issue a protective order in this matter to bar Defendants from revealing his

name and/or personal information to the public.


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I.      Legal Grounds for Allowing Plaintiff to Proceed Anonymously

        Federal Rule of Civil Procedure 26(c) states that “the court may, for good cause, issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense.” Accordingly, there is statutory authority given to allow judges the discretion to protect

a party’s identity.

        There is also judicially espoused authority granting judges this discretion if there is good

cause. In Doe v. City of Chicago, 360 F.2d 667, 669 (7th Cir 2004), the Seventh Circuit explained

that although judicial proceedings generally are supposed to be open, the presumption of openness

can be rebutted for good cause shown. Further, the United States Supreme Court has implicitly

recognized the use of pseudonyms. See e.g. Roe v Wade, 410 U.S. 113 (1973); and Doe v Bolton,

410 U.S. 179 (1973).

        Plaintiff can show good cause exists in this case to keep his identity confidential. “For good

cause to exist, the party seeking protection bears the burden of showing specific prejudice or harm

will result if no protective order is granted.” Phillips v. GMC, 307 F.3d 1206, 1211 (9th Cir 2002).

        In Doe v. Blue Cross & Blue Shield United of Wisconsin, ll2 F.3d 869, 872 (7th Cir. 1997),

the Seventh Circuit Court of Appeals noted that the use of fictitious names is disfavored, and the

judge has an independent duty to determine whether exceptional circumstances justify a departure

from the normal method of proceeding in federal courts. Id. However, the Court also concluded

that exceptional circumstances that warrant allowing the use of fictitious names include protecting

the privacy of children, rape victims, and other particularly vulnerable parties or witnesses. Id.

        Likewise, although the plaintiff in Doe v. City of Chicago, was not able to show good cause

and rebut the presumption in her case of sexual harassment, the Seventh Circuit noted that had the

suit been about a minor, rape or torture, the Court would have seen it differently. 360 F.2d at 669.



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       In John Doe v. Freeburg Community Consolidated School District No. 70, No. 10-CV-

00458-JPG, the Court considered a case of abuse and harassment and issued the protective order.

       The present case has facts to rebut the presumption of identity disclosure because it

involves repeated sexual harassment to a minor. Here, Plaintiff was sexually harassed by his

teacher and by his peers at school while he was a minor and attending high school. The facts in the

complaint show that he suffered sexual harassment, bullying and emotional abuse from peers at

his school relating to much more serious criminal sexual enticement and harassment by his teacher

that began when he was a middle-schooler. Plaintiff is still a young adult, now in college. He is

just beginning to escape the community that made life so difficult for him. Revealing his identity

now, as he seeks justice for the offenses committed against him, threatens to expose his

victimization to his new college community and re-open these wounds. These experiences are still

sensitive to him and he looks to move forward with his life free from the oppression and

humiliation.

       In Plaintiff B v. Francis, 631 F.3d 1310, 1319 (11th Cir. 2011), the Eleventh Circuit Court

of Appeals ruled that the District Court abused its discretion when refusing to allow a minor to

proceed anonymously in a civil case involving child pornography. Although this is not a child

pornography case where the jury may see images of the plaintiff’s abuse, this is a case that compels

plaintiff to disclose information that is “of the utmost intimacy.” Doe v. Stegall, 653 F.2d 180, 186

(5th Cir 1981).

       Perhaps the most obvious reason for allowing the use of a pseudonym is to protect a

plaintiff who has already been crushed by those he trusted from suffering further harm. As noted

by a Massachusetts court presented with a similar issue:

       [f]or many victims of sexual abuse, … public revelation of the abuse, if not sought
       by them, victimizes them yet again. It stigmatizes them as victims of such abuse,

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       generates conversations that may re-open emotional wounds that had only begun to
       heal, and causes others, even those who mean well, to treat them differently. If the
       identit[ies] of these victims are not protected by the courts, then their access to the
       courts will be severely diminished, because they will not be able to turn to the courts
       for relief from or compensation of their emotional injuries without aggravating
       those same injuries.

Globe Newspaper Co., Inc. v. Clerk of Suffolk County Superior Court, 2002 WL 202464, *6, 14

Mass.L.Rptr. 315 (Mass.Super., 2002).

II.    Circumstances of This Case Warrant Protection of Plaintiff’s Identity

       The instant case involves allegations of sexual harassment and emotional abuse of a minor.

Clearly, sexual harassment and abuse involving minors is a highly sensitive and personal matter.

Plaintiff’s descriptions of how the perpetrator, who was his teacher, harassed him are explicit and

humiliating. Requiring Plaintiff to use his true identity would immediately expose him to the public

further as a victim of sexual harassment and abuse. Plaintiff’s desire to remain anonymous is

understandable and his interest in protecting his identity outweighs any interest in favor of open

judicial proceedings. This is particularly true when, as here, Defendants will know the identity of

Plaintiff and can continue with the litigation without prejudice.

       Plaintiff fears embarrassment in his community. Lawsuits involving sexual abuse evoke

strong emotions and anger. Moreover, it is not run of the mill embarrassment that is at issue here,

as Plaintiff in this case is particularly vulnerable. Plaintiff endured sexual harassment and abuse

for a significant period of time in school while he was a minor. When his peers found about his

victimization, they ridiculed him. Accordingly, Plaintiff is all too familiar with what happens

when his identity is revealed along with this sensitive information. As a result of the ridicule at his

school, Plaintiff was forced to leave his sports team and change schools. His fear of being

ostracized and ridiculed again is justified. Moreover, the stigma of being a male victim of sexual

harassment and enticement exacerbates the humiliation for this particular victimization. It should

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not be that way, but in our society, a sexual harassment and child enticement victim is somehow

seen in the community as less deserving of kindness and empathy when the victim is male. In that

way, gender discrimination is abundant and adds to the stigma.

        Defendants will be told of his identity, and that scares Plaintiff enough. But, if it is revealed

to the public, he will have to fear all of Defendants’ employees, their friends, their family members,

his former and current school mates, school personnel, and others in the community over whom

they may have influence. “The danger of retaliation is often a compelling ground for allowing a

party to litigate anonymously.” Doe v. City of Chicago, 360 F.2d 667, 669 (7th Cir 2004).

III.   Strong Public Policy Reasons Require Plaintiff be Allowed to Proceed Anonymously

       While protecting victims from further suffering is alone a sound policy reason weighing

enough to support allowing Plaintiff to proceed under a pseudonym, the benefits of such a decision

also promote the good of the general public. The reality is that the threat alone of potential re-

victimization in a public lawsuit regarding sexual abuse is enough to keep most victims out of the

courts. See Globe Newspaper Co., Inc. v. Clerk of Middlesex County Superior Court, 2002 WL

562658, *2, 14 Mass.L.Rptr. 412 (Mass.Super., 2002) (“Releasing [the victims’] names and

identifying information . . . carries the unacceptable risk that they will be re-victimized by the

possible stigma associated with the allegations that they were sexually abused.”); Jennifer J. Freyd

et al., The Science of Child Sexual Abuse, SCIENCE, April 22, 2005, at 308 (“[C]lose to 90% of

sexual abuse cases are never reported to the authorities”). Allowing such pressure to prevent those

few plaintiffs who would otherwise muster the courage to come forward against institutions would

prevent not only the individual from achieving some modicum of justice, but also prevents the

public from attaining the benefit that prosecuting such cases bring. In short, the reform that large

“meditating institutions” such as churches, universities, and schools undertake as a result of suits



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like Plaintiff’s makes the public safer and the institutions themselves more trustworthy. Moreover,

Plaintiff’s case serves as a warning to the community at large to be awake to similar risks.

        The federal courts have recognized the public benefit that results from allowing individuals

to pursue these types of cases under a pseudonym. One example of the court’s recognition of such

public benefit involved suits by individuals suffering from mental illness. There, the court held

that:

        [T]here is substantial public interest in ensuring that cases like Plaintiff’s are
        adjudicated and the rights of mental illness sufferers are represented fairly and
        without the risk of stigmatization. However, this goal cannot be achieved if
        litigants . . . are chilled from ever reaching the courthouse steps for fear of
        repercussions that would ensue if their condition was made public. Although
        any litigant runs the risk of public embarrassment by bringing their case and
        revealing sensitive facts in a public courtroom, the situation here is vastly different
        because Plaintiff’s bipolar condition is directly tied to the subject matter of the
        litigation–his mental illness and the disability benefits he allegedly is entitled to as
        a mental illness sufferer. . . . Plaintiff is faced with circumstances that society may
        not yet understand or accept and his condition is directly tied to the issues before
        the Court.

Doe v. Hartford Life and Acc. Ins. Co., 237 F.R.D. 545, 550 -551 (D. N.J. ,2006).

IV.     Conclusion

        For good cause shown, Plaintiff respectfully requests that this Court enter a protective order

in this case prohibiting the parties from revealing Plaintiff’s identity or identifying information to

any person who is not part of the Court or a party to this lawsuit, except for as is necessary to

consult with experts or potential witnesses.1

                                                        Respectfully submitted,

                                                        /s/ Sarah Jane Hunt
                                                        Thomas E. Kennedy, III,
                                                        Sarah Jane Hunt
                                                        MaryAnne Quill

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            If the Court desires, Plaintiff will submit a Proposed Order.


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